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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

LITICIA GASTON and                           )
TIFFANY EDWARDS,                             )
                                             )
       Plaintiffs,                           )
                                             )
                                                        No. 2:18-cv-02361-SHL-tmp
v.                                           )
                                             )
CREDIT ACCEPTANCE CORPORATION,               )
                                             )
       Defendant.                            )

                                       JUDGMENT


JUDGMENT BY COURT. This action having come before the Court on Plaintiff’s Complaint
and Demand for Jury Trial (ECF No. 1), filed May 25, 2018,

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that, in accordance with the
Order Granting Joint Motion to Dismiss and Compel Arbitration (ECF No. 10), entered June 25,
2018, judgment is entered and the matter is hereby DISMISSED WITHOUT PREJUDICE.

APPROVED:

s/ Sheryl H. Lipman
SHERYL H. LIPMAN
UNITED STATES DISTRICT JUDGE

June 25, 2018
Date
